     Case: 1:24-cv-00344-DAR Doc #: 37 Filed: 07/23/24 1 of 10. PageID #: 475




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

Nancy Smith                                * Case No. 1:24-cv-00344
                                           *
              Plaintiff,                   * Judge David Ruiz
                                           * Magistrate Judge Jennifer Dowdell
v.                                         * Armstrong
                                           *
City of Lorain, et al.                     * DEFENDANT LORAIN COUNTY'S
                                           * MOTION FOR JUDGMENT ON THE
                                           * PLEADINGS AND SUPPORTING
                                           * MEMORANDUM
                                           *
                                           *
                                           *
                         **************************************
       Defendant Lorain County (“Defendant” or “the County”), in accordance with Fed. Civ.

Rule 12(c), hereby seeks judgment on the pleadings and dismissal of all claims set forth in the

Complaint (Rec. Doc. # 1) (“Complaint”) filed by Plaintiff Nancy Smith (“Smith” or “Plaintiff.”)

The County is entitled to dismissal because the allegations of the Complaint fail to state a

plausible claim for relief against it. A Memorandum in Support of this Motion follows

immediately.

                                   MEMORANDUM IN SUPPORT

A.     The Nature of the Case and the Allegations made against Lorain County.

       Plaintiff Nancy Smith was arrested and convicted of various charges in 1994. (See

generally, Pl. Compl., ECF # 1). In this lawsuit, Plaintiff claims that an assistant prosecutor then

employed in the Lorain County Prosecutor’s Office, Jonathan Rosenbaum, joined in a conspiracy
     Case: 1:24-cv-00344-DAR Doc #: 37 Filed: 07/23/24 2 of 10. PageID #: 476




with City of Lorain police officers to fabricate evidence which led to her arrest and conviction.

Mr. Rosenbaum is separately represented from the County, and he has filed a Motion to Dismiss

(ECF #15.)

        Only conclusory factual allegations are made against Lorain County. Specifically, at

Paragraph 49 of the Complaint, in a section of the Complaint titled “Parties,” Plaintiff says that

Mr. Rosenbaum’s employment “fell under the purview of Lorain County.” At Paragraph 50,

Plaintiff alleges that Lorain County is a “municipal corporation under the laws of the State of

Ohio,” and then inaccurately concludes that the County is “liable for all torts committed by the

Defendant Rosenbaum while employed by the Lorain County Prosecutor’s Office pursuant to the

doctrine of respondeat superior. Lorain County is or was the employer of Defendant

Rosenbaum.”

        Of the eight Counts1 set forth in the Complaint, none are specifically directed against the

County. Specifically:

            Counts I, II, III, are constitutional claims made under 42 U.S.C. § 1983, and are
            asserted against the “Defendants” premised on allegations of improper detention, due
            process violations, and fabrication of evidence. The nature of the allegations
            indicates that these claims are directed against the Defendants sued in their individual
            capacities, and not the municipal entities. Because the particular individual
            Defendants are not specified, the claims presumably refer to all of the Defendant
            police officers and Defendant Rosenbaum.

            Counts IV and V assert constitutional claims made under 42 U.S.C. § 1983 of
            supervisory liability and failure to intervene, again pled collectively against
            unspecified “Defendants.” These claims appear to pertain to certain of the police
            officer Defendants. They do not appear to pertain to Defendant Rosenbaum since he
            is not alleged to have been a supervisor (in fact, at Paragraph 49 he is alleged to have
            been a “deputy prosecutor”) nor is he alleged to have failed to intervene to prevent a
            constitutional violation. There is no indication that these claims pertain to the
            Defendant County.



1
 The Counts are misnumbered. Count VI is omitted, and the Complaint skips from Count V to Count VII.
Defendants will refer to the Counts as they are numbered in the Complaint.



                                                      2
     Case: 1:24-cv-00344-DAR Doc #: 37 Filed: 07/23/24 3 of 10. PageID #: 477




           Count VII is identified as a Monell v. Dept of Social Services, 436 U.S.S 658 (1978)
           claim asserted against the City of Lorain but not Lorain County.

           Counts VIII asserts a state law claim of intentional infliction of emotional distress
           against unspecified “Defendants.”

           County IX asserts a state law claim of respondeat superior against the City of Lorain,
           Lorain Police Department, and the Lorain County Prosecutor’s Office.

B.     The Legal Standards Applicable to this Motion

       To survive a Rule 12 motion seeking dismissal, Plaintiff’s Complaint must allege facts

sufficient to show that her claims have “substantive plausibility.” Bell Atlantic Corp. v.

Twombly, 550 U. S. 544 (2007); Ashcroft v. Iqbal, 556 U. S. 662 (2009).

       Plausibility requires more than a sheer possibility that a defendant has acted unlawfully.

Twombly, 550 U.S. at 556. A plaintiff’s “[f]actual allegations must be enough to raise a right to

relief above the speculative level.” Twombly, 550 U.S. at 555-56. To survive a motion to

dismiss, a litigant must allege enough facts to make it plausible that the defendant bears legal

liability. Agema v. City of Allegan, 826 F.3d 326, 331 (6th Cir. 2016) (citing Iqbal, 556 U.S. at

678.) Merely pleading facts that are consistent with a defendant’s liability or that permit the

court to infer misconduct is insufficient. Iqbal, 556 U.S. at 679; see also, Courie v. Alcoa Wheel

& Forged Prods., 577 F.3d 625, 629-30 (6th Cir. 2009).

       In evaluating plausibility, a court need not accept as true “a legal conclusion couched as a

factual allegation,” nor “recitations of the elements of a cause of action.” Twombly, supra, 550

U.S. at 555. See also, Iqbal, 556 U.S. at 678 and Rondigo, L.L.C. v. Twp. of Richmond, 641 F.3d

673, 680 (6th Cir. 2011). A plaintiff must provide more than labels and conclusions. A

complaint fails if it tenders only “naked assertion[s]” devoid of “further factual enhancement.”

Twombly, 550 U.S. 557. “[T]he tenet that a court must accept as true all of the allegations

contained in a complaint is inapplicable to legal conclusions. Threadbare recitals of the elements



                                                 3
     Case: 1:24-cv-00344-DAR Doc #: 37 Filed: 07/23/24 4 of 10. PageID #: 478




of a cause of action, supported by mere conclusory statements, do not suffice.” Iqbal, supra, 556

U.S. at 678. Thus, when allegations are conclusory in nature, they are “disentitle[d]” “to the

presumption of truth.” Iqbal, 556 U.S. at 681.

       The pleading requirements outlined in Twombly and Iqbal apply to motions for judgment

on the pleadings made under Federal Rule of Civil Procedure 12(c), as well as motions to

dismiss made under Rule 12(b)(6). Carmichael v. City of Cleveland, 571 F. App’x 426, 430 (6th

2014); HDC, LLC v. City of Ann Arbor, 675 F.3d 608, 611 (6th Cir. 2012).

C.     Argument in Support of Rule 12 Dismissal.

       1.      Lorain County is not sui juris.

       Ohio counties are local government units established by the Ohio General Assembly,

which operate pursuant to Ohio R.C. Title 3. Ohio Constitution, Article X, Section 01. Ohio

counties “may exercise only those powers affirmatively granted to them by the General

Assembly.” Geauga Cty. Bd. of Commrs. v. Munn Rd. Sand & Gravel, 67 Ohio St.3d 579, 582,

1993-Ohio-55; see, also State ex rel. Shriver v. Board of Com’rs of Belmont County, 148 Ohio

St. 277, 280 (1947).

       No section in the Ohio Revised Code authorizes an Ohio county to sue or be sued unless

a county has adopted a charter or alternative form of government in accordance with Ohio R.C.

§301.22 – which Lorain County has not done. Ohio R.C. §305.12 specifies the means by which

claims involving an Ohio county which has not adopted a charter or alternative form of

government must be pursued:

       The board of county commissioners may sue and be sued, and plead and be
       impleaded, in any court. * * *




                                                 4
     Case: 1:24-cv-00344-DAR Doc #: 37 Filed: 07/23/24 5 of 10. PageID #: 479




Therefore, the Ohio Supreme Court has concluded that unchartered counties (a category which

includes Lorain County) are not capable of being sued. Estate of Fleenor v. Ottawa Cnty., 170

Ohio St. 3d 38, 2022- Ohio 3581.

       Since the Fleenor decision was issued clarifying and establishing that unchartered

counties are not sui juris, this District Court has explicitly determined that Lorain County as an

entity may not be sued:

               Each county’s “board of county commissioners may sue and be
               sued, and plead and be impleaded, in any court." Ohio Rev. Code §
               305.12. But a county itself may not sue or be sued, Estate of
               Fleenor, 2022-Ohio-3581, at ¶ 13, unless that county has
               "adopt[ed] a charter or an alternative form of government,” Ohio
               Rev. Code § 301.22. (Lorain County has not done so.) Therefore,
               Lorain County is “not a juridical entity subject to suit under Ohio
               law.” Tysinger v. Police Dep't., 463 F.3d 569, 572 (6th Cir. 2006).

                                             * * * * *

               To hale [sic, haul] the County into court, Plaintiff must sue “the
               government of” the County, 29 U.S.C. § 203(x), which is the board
               of county commissioners, Ohio Rev. Code § 305.12.

Meade v. Lorain Cty., No. 1:23-cv-713, 2023 U.S. Dist. LEXIS 223214, at *13 (N.D. Ohio Dec.

15, 2023).

       Therefore, since Lorain County is not sui juris and the Board of County Commissioners

has not been named a party to the suit, all claims against it must be dismissed.

       2.      Even if Lorain County was a party capable of being sued, the Complaint still
               fails to state a claim for which relief may be granted against it.

               a.      Counts I, II, III, IV and V must be dismissed.

       Even if Lorain County was sui juris, or alternatively, had the Lorain County Board of

Commissioners been named a party to the suit, still the Complaint must be dismissed because it

otherwise fails to state a plausible claim for legal relief against the County.




                                                  5
     Case: 1:24-cv-00344-DAR Doc #: 37 Filed: 07/23/24 6 of 10. PageID #: 480




         The allegations of Counts I, II, III, IV and V of the Complaint make no specific factual

allegations against Lorain County. Rather, the factual allegations in these Counts pertain to

alleged constitutional wrongs committed by unspecified individual Defendants; there are no

allegations that some County policy or custom led to those purported violations. A local

government cannot be held liable solely because it employs a tortfeasor. Monell v. Dep't of Soc.

Servs., 436 U.S. 658, 690-95 (1978). To state a claim against a government entity under Section

1983, a complaint must allege deprivation of a federal right pursuant to the entity’s policy or

custom. Id. And, when a complaint fails to include factual allegations against an entity

defendant asserting that it had an unconstitutional policy or custom that caused the plaintiff’s

alleged deprivation of a federal right, the complaint must be dismissed. E.g. Williams v.

Cleveland Clinic, No. 1:23 CV 1208, 2023 U.S. Dist. LEXIS 147722, at *4 (N.D. Ohio Aug. 23,

2023).

         Because the allegations of Counts I, II, III, IV and V fail to state a plausible claim against

the County, they must be dismissed.

         b.     Count VII must be dismissed because the Monell claim it asserts is directed
                against the City of Lorain and not Lorain County, and because the
                Complaint otherwise does not contain Monell allegations against the County.

         Count VI of the Complaint is titled “Monell Claim Against Defendant City of Lorain.” In

the body of that Count, Plaintiff refers to the policies and practices of the City of Lorain police

department. No mention is made of any policies, practices, or customs of the Lorain County

Prosecutor’s Office, either within the body of Count VII or elsewhere in the Complaint.

         Because this Count does not purport to, and in fact does not, put Lorain County on fair

notice that it may be the subject of a Monell claim (and in fact, indicates that such a claim is




                                                   6
     Case: 1:24-cv-00344-DAR Doc #: 37 Filed: 07/23/24 7 of 10. PageID #: 481




being asserted exclusively against the City), it is subject to dismissal under Fed. Civ. Rules 8 and

12. See e.g. Robertson v. Lucas, 753 F.3d 606, 623 (6th Cir. 2014).

       c.      Count VIII must be dismissed because it is barred by R.C. Chapter 2744
               immunity.

       Count VIII purports to assert a claim for intentional infliction of emotional distress.

Apart from the fact it is not sui juris, Lorain County cannot be liable for such a claim because it

is barred by the immunity afforded political subdivisions under Ohio R.C. Chapter 2744.

       Political subdivisions like Lorain County are entitled to presumptive immunity under

Ohio R.C. §2744.02(A). They can be sued for common law torts only if their conduct fits into

an immunity exception set forth in Ohio R.C. §2744.02(B). There is no exception to immunity

under Ohio R.C. § 2744.02(B) for intentional torts, including the tort of intentional infliction of

emotional distress. See e.g. Kohler v. City of Wapakoneta, 381 F. Supp. 2d 692, 700 (N.D. Ohio

2005) (citing Wilson v. Stark County Dep't of Human Servs., 70 Ohio St. 3d 450 (Ohio 1994)).

See also Walsh v. Village of Mayfield, No. 92309 8th Dist. Cuyahoga, 2009 WL 1423921,

¶ 11, 2009-Ohio-2377 (May 21, 2009).

       Further, there is no exception for tortious conduct committed by an assistant prosecutor

arising out of the performance of his or her prosecutorial duties. The only potentially relevant

exception is set forth in Ohio R.C. §2744.02(B)(2), but it applies to acts taken in connection with

proprietary functions. Yet “[j]udicial, quasi-judicial, prosecutorial, legislative, and quasi-

legislative functions,” are expressly defined as governmental functions. See Ohio R.C.

§2744.01(C)(2)(f). Under §2744.01(G)(1)(a), functions specified as “governmental” under Ohio

R.C. §2744.01(C)(2) are expressly excluded from the definition of proprietary functions. All of

this means that no immunity exception exist under Ohio R.C. §2744.02(B) which would allow

the claim for intentional infliction of emotional distress to proceed.



                                                  7
     Case: 1:24-cv-00344-DAR Doc #: 37 Filed: 07/23/24 8 of 10. PageID #: 482




       d.      Count IX must be dismissed because it is barred by R.C. Chapter 2744
               immunity.

       Finally, for like reasons, the claim for respondeat superior liability asserted against the

County in Count IX must be dismissed because it, too, is barred by Chapter 2744 immunity.

       On its face, there is no immunity exception under R.C. § 2744.02(B) which creates

liability on the part of a political subdivision based on the principle of respondeat superior, or

merely because it employed the allegedly wrongdoing tortfeasor.

       Indeed, the very framework of R.C. Chapter 2744 precludes imposition of respondeat

superior liability upon a political subdivision, and bars attempts to impose some type of

collective responsibility among a political subdivision and its employees. The doctrine of

respondeat superior is premised on agency principles which impose liability upon an employer

for the acts done by an employee in the course and scope of employment. E.g Clark v. Campbell,

4th Dist. No. 19CA3673, 2020-Ohio-3333, ¶ 43 (Ct. App.) citing Friga v. E. Cleveland, 8th Dist.

No. 88262, 2007-Ohio-1716, at ¶ 25. Yet, “when an employee commits an intentional tort, it is

assumed that the employee did not act within the course and scope of employment, for

intentional torts generally encompass bad acts which have no place in the employment relation.”

Id. quoting, Byrd v. Faber, 57 Ohio St.3d 56, 58, 565 N.E.2d 584 (1991). No intentional conduct

committed by a public official (and indeed, no negligent conduct) conducted by a public official

while in the performance of a governmental function performed either inside or outside the scope

of employment is the subject an immunity exceptions set forth in R.C. § 2744.02(B). As stated

in City of Greenfield v. Schluep, 4th Dist. Highland No. 95CA8, 2006-Ohio-531, the Fourth

District Court of Appeals stated at ¶ 20: “Traditional principles of agency are not applicable in

considering a political subdivision's claim for immunity. The U.S. District Court for the

Southern District of Ohio put it: this way: “Common law agency principles, however, are clearly



                                                  8
     Case: 1:24-cv-00344-DAR Doc #: 37 Filed: 07/23/24 9 of 10. PageID #: 483




trumped by the Political Subdivision Tort Liability Act.” Woods v. Wellston, Case No. 2:02 CV

762, (S.D. Ohio, Eastern Division, Jun. 15, 2005).

       Accordingly, Ohio courts consistently hold that political subdivisions cannot be liable on

the theory of respondeat superior, unless one of the immunity exceptions under R.C. §

2744.02(B) otherwise applies in the first instance. See e.g. Reno v. Centerville, 2004 WL

316512, 2004 -Ohio- 781 ¶ 53 (Montgomery Co. App. Feb. 20, 2004); Lee v. Cleveland, 151

Ohio App.3d 581, 2003–Ohio–742 ¶ 20 (Cuyahoga App. Feb. 20, 2003); City of Greenfield v.

Schluep, 2006 WL 290471, 2006-Ohio-531 ¶ 20 (Highland Co. App. Feb. 1, 2006).

       Thus the allegations in Count IX of the Complaint which seek to hold the County

vicariously liable on the basis of respondeat superior fail as a matter of law.

D.     Conclusion

       Based on the foregoing, Defendant Lorain County asks that the Complaint against it be

dismissed, with all costs borne by Plaintiff.

                                                Respectfully submitted,

                                                /s Teresa L. Grigsby
                                                Teresa L. Grigsby (0030401)
                                                Spengler Nathanson P.L.L.
                                                900 Adams Street
                                                Toledo, OH 43604
                                                Telephone: (419) 241-2201
                                                Facsimile: (419) 241-8599
                                                tgrigsby@snlaw.com

                                                Counsel for Defendant Lorain County




                                                   9
     Case: 1:24-cv-00344-DAR Doc #: 37 Filed: 07/23/24 10 of 10. PageID #: 484




                                    CERTIFICATE OF SERVICE

           I hereby certify that on the 23rd day of July, 2024, a copy of the foregoing instrument was

filed electronically with the Court’s electronic filing system. Notice of this filing will be sent by

operation of the Court’s electronic filing system to all parties indicated on the electronic filing

receipt.


                                                 /s/ Teresa L. Grigsby
                                                 Teresa L. Grigsby

                                                 Counsel for Defendant Lorain County




698088




                                                   10
